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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

ARTHUR W. CARSON,                          )
    ID #517349                             )
         Petitioner,                       )
vs.                                        )         No. 3:08-CV-0099-K
                                           )                ECF
NATHANIEL QUARTERMAN,                      )
Director, Texas Department of              )
Criminal Justice, Correctional             )
Institutions Division,                     )
             Respondent                    )

                                     JUDGMENT

       This action came on for consideration by the Court, and the issues having been

duly considered and a decision duly rendered,

       It is ORDERED, ADJUDGED and DECREED that:

       1.      The petition for habeas corpus relief pursuant to 28 U.S.C. § 2254 is

DISMISSED with prejudice.

       2.      The Clerk shall transmit a true copy of this Judgment and the Order

Accepting the Findings and Recommendation of the United States Magistrate Judge to

all parties.

       SIGNED this 15th day of June, 2009.




                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE
